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            EXHIBIT 3
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DEF CON 27
Voting Machine
Hacking Village
AUGUST 2019




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                                                 INTRODUCTION



The Voting Machine Hacking Village (Voting Village) returned to DEF CON in August 2019 with a
dramatic expansion in election equipment research and evaluation. DEF CON, the world’s largest
and best-known hacker conference, brings together a wide range of attendees including hackers;
cybersecurity professionals; journalists; academics; lawyers; and local, state and federal
government leaders. The Voting Village, now in its third year, saw a dramatic increase in
attendance and participation, particularly from state, local, and federal government officials.


Since its launch in 2017, the Voting Village has served as an open forum to identify vulnerabilities
within the U.S. election infrastructure and to consider solutions to mitigate these vulnerabilities.
This year, the Voting Village demonstrated the role that hackers and other cybersecurity experts
can, and should, have in the national endeavor to improve election security.


Over the course of two and a half days, hackers, technologists, academics, and other experts had
full access to over 100 Voting-Village-owned voting machines to study, as well as the opportunity
to attend talks and panels on topics ranging from the challenges involved in reporting on election
security to the types of risk-limiting audits.


The clear conclusion of the Voting Village in 2019 is that independent security experts and
hackers are stepping into the breach - providing expertise, answers, and solutions to
election administrators, policymakers, and ordinary citizens where few others can.


While the discovery and replication of voting system security vulnerabilities are critical tasks for
which the Voting Village plays an important role, that is not, in our view, its main contribution.
Hundreds of security experts passed through the doors over the course of the weekend, many of
whom had no previous experience with the particular problems and risks inherent to election
technology. It is vital that we expand the pool of security experts equipped with the specialized
knowledge required to evaluate, and ultimately improve, voting system security. We are especially
proud of the success of the Voting Village in this essential education and outreach role.


From the outset, the mission of the Voting Village has been to highlight vulnerabilities in election
equipment used in the United States and throughout the world and to serve as a resource for
those whose goal is to improve the state of election security. As Voting Village organizer Harri
Hursti emphasized, “As always we welcome everyone, but especially we welcome officials. We are
here to help and get everyone informed - and let everyone experiment to verify the facts.”

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                                    EXECUTIVE SUMMARY




   1. Commercially-Available Voting System Hardware Used in the U.S. Remains Vulnerable to
   Attack


As in previous years, the 2019 Voting Village presented a range of currently marketed touch-screen
direct recording electronic (DRE), optical scan paper voting devices, paper ballot marking devices
(BMDs) and electronic poll books (e-poll books). While the Village did not attempt to (and could
not) provide samples of every piece of voting equipment currently in use throughout the United
States, every piece of equipment at the Village is currently certified for use in at least one U.S.
jurisdiction.


And once again, Voting Village participants were able to find new ways, or replicate previously
published methods, of compromising every one of the devices in the room in ways that could alter
stored vote tallies, change ballots displayed to voters, or alter the internal software that controls
the machines. In many cases, the DEF CON participants tested equipment they had no prior
knowledge of or experience with, and worked with any tools they could find - in a challenging
setting with far fewer resources (and far less time) than a professional lab (or even the most casual
attacker) would typically have. In most cases, vulnerabilities could be exploited under election
conditions surreptitiously by means of exposed external interfaces accessible to voters or precinct
poll workers (or to any other individual with brief physical access to the machines). In particular,
many vectors for so called “Advanced Persistent Threat (APT)” attacks continue to be found or
replicated. This means that an attack that could compromise an entire jurisdiction could be
injected in any of multiple places during the lifetime of the system.


As disturbing as this outcome is, we note that it is at this point an unsurprising result. It is well
known that current voting systems, like any hardware and software running on conventional
general-purpose platforms can be compromised in practice. However, it is notable - and especially
disappointing - that many of the specific vulnerabilities reported over a decade earlier (in the
California and Ohio studies, for example), are still present in these systems today.*


* See California Top-to-Bottom Review (2007): “Top-to-Bottom Review.” California Secretary of State. Accessed September 26, 2019.
https://www.sos.ca.gov/elections/ovsta/frequently-requested-information/top-bottom-review/. and
Ohio EVEREST (2007): McDaniel, Patrick, Matt Blaze, Giovanni Vigna, Joseph Lorenzo Hall, Laura Quilter, Kevin Butler, William Enck, et
al. “EVEREST: Evaluation and Validation of Election- Related Equipment, Standards, and Testing.” Secretary of State of Ohio,
December 7, 2007. https://www.eac.gov/assets/1/28/EVEREST.pdf.
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     2. There is an Urgent Need for Paper Ballots and Risk-Limiting Audits


  It is beyond the current and foreseeable state of the art to construct computerized (software and
  hardware based) voting devices that effectively resist known, practical forms of malicious
  tampering. However, this need not mean that elections must forever be vulnerable to compromise.
  Certain classes of voting equipment, including some (but not all) of the devices displayed at the
  Voting Village, can still be used to conduct high-integrity elections— in spite of their
  vulnerabilities — by conducting statistically rigorous post-election audits. Whether this is possible
  depends on the specific category of voting technology in use and, critically, whether a properly
  designed post-election audit process is routinely performed as a part of every election.


  Systems that use paper ballots, such as optical scan voting devices, are physically designed to
  preserve a voter-marked record of each voter’s intended choices (the original paper ballots
  themselves) which cannot be altered by even the most maliciously compromised software. These
  paper ballots are a prerequisite for the use of routine post-election Risk Limiting Audits (RLAs),
  which are a state-of-the-art, statistically rigorous technique for comparing (by human eye) a
  sample of ballots with how they were recorded by machine. This allows us to reliably determine
  the correct outcome of even an election conducted with compromised machines.


  In particular, we emphasize that these audits can only be performed on paper-ballot-based
  systems. DRE (“touchscreen”) voting devices cannot be used to conduct reliable or auditable
  elections in this way, because the stored vote tallies (as well as the ballot display) are under the
  control of precinct voting machine software that can be maliciously altered (in both theory and
  practice). The experience of the Voting Village strongly reinforces the widely understood risk that
  these machines might be compromised under election conditions in practice. The authors strongly
  endorse the recommendations of the National Academies 2018 consensus report, Securing the
  Vote,** that DRE voting machines, which do not have the capacity for independent auditing, be
  phased out as quickly as possible. This is an increasingly urgent matter, especially as foreign state
  actors (which may be highly motivated to disrupt our elections and which enjoy especially rich
  resources) are recognized as part of the threat to U.S. election integrity.


  Unfortunately, the recommended practice of auditable paper ballots coupled with routine post-
  election risk limiting audits remains the exception, rather than the rule, in U.S. elections. While a
  growing number of states are already implementing paper ballots, legislation requiring routine
  risk-limiting audits has so far been advanced in only a few states.*** We strongly urge all states to
  adopt legislation mandating routine post-election risk-limiting audits. This is especially important
  because current optical scan paper ballot scanners (including those at the Voting Village) are
  known to be vulnerable in practice to compromise. Post-election audits are the only known way to
  secure elections conducted with imperfect hardware and software (as all modern computer-based
  hardware ultimately is).

** National Academies of Sciences, Engineering, and Medicine, Securing the Vote: Protecting American Democracy (Washington, DC:
The National Academies Press, 2018). https://doi.org/10.17226/25120.
*** "Post-Election Audits.” National Conference of State Legislatures, August 5, 2019. http://www.ncsl.org/research/elections-and-
campaigns/post-election-audits635926066.aspx.
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  3. New Ballot Marking Device (BMD) Products are Vulnerable


One of the most vigorously debated voting technology issues in 2019 is the appropriate role of
paper ballot marking devices (BMDs) and how they relate to widely recognized requirements for
software independence and compatibility with meaningful risk-limiting audits. Originally, BMDs
were conceived of narrowly, specifically for use by voters with disabilities to assist them in
marking optical scan paper ballots, bringing such systems into compliance with Help America
Vote Act (HAVA) requirements for accessible voting. However, certain recent voting products
greatly expand the use of BMD technology, integrating a BMD into the voting process for all voters,
whether they require assistive technology or not.


As a relatively new technology, ballot marking devices have not been widely studied by
independent researchers and have been largely absent from practical election security research
studies. In the Voting Village this year, we had two ballot marking devices, representing two
commercial models of this technology: a traditional ballot-marking device and a hybrid device.
The findings only underscore the need for more comprehensive studies.


Participants in the Voting Village found that both BMD models were vulnerable to practical attack.
In particular:


1. The hybrid machine outwardly appears to be a separate ballot-marking device and ballot optical
  scanner as two units physically integrated but architecturally separate. However, it was found
  that the ballot-marking device was connected to the ballot-scanning device over an internal
  network, and in fact was an active device in vote processing. This means that hacking the ballot
  marking device enables altering votes at the scanning stage.
2. Both devices stored information that could allow an attacker to compromise the secrecy of
  individual ballots.


The weaknesses in the current generation of ballot marking devices raises broad questions about
their security and impact on overall election integrity if they were to be put into general use in
elections. Aside from their potential to be maliciously configured to subtly mis-record voter
choices, current ballot marking devices also offer potential avenues for election disruption via
denial-of-service attacks. Voting Village participants observed that clearing many simple error
situations (including those that could be deliberately induced by an attacker) required rebooting
the device. This can easily create long lines at a polling place, since, as we also observed, it can
take up to 15-20 minutes for these devices to complete a reboot cycle.


  4. Infrastructure and Supply Chain Issues Continue to Pose Significant Security Risks


The Voting Village explored threats to election security from the supply chain. Participants
continued to observe a wide array of hardware component parts of foreign origin, as well as other
aspects of the supply chains for software and operational software maintenance. For example,
participants found in one machine a hard-wired IP address pointing to an overseas address block.

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The exact purpose and nature of whatever underlying feature used this address remains
undetermined, but it underscores questions about foreign control over voting system supply
chains, which should be understood to include not just the sourcing of physical hardware, but also
of software and cloud-based and other remote services.


There are also significant practical issues of local election administration and resources. Local
election offices are, overwhelmingly, under-resourced and under-funded, especially relative to
the threats they face. Many county and local voting jurisdictions have no full-time IT staff, and
many rely on outside contractors for election system configuration and maintenance. This reliance
on outsourcing means that election officials often lack internal tools and other capabilities to
effectively manage, understand and control their election infrastructure and as a consequence are
without direct control over the security of their IT environment. With rapid deployment of new IT
technology into the election infrastructure, election offices are especially exposed to remote
attack (including by hostile state actors). Unfortunately, very few election offices have the
resources to effectively counter this increasingly serious type of threat.


It is important to recognize that IT and cybersecurity are distinct disciplines with only a partial
overlap in expertise. To promote discussion and collaboration between election officials and
security specialists, the Voting Village conducted the first “Unhack the Ballot” initiative to create
an opportunity for election officials to connect with, ask questions, and find answers from security
specialists. This “off the record session” was held for the first time in a private room at the Voting
Village.




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                                                        EQUIPMENT
                                                  AVAILABLE AT THE
                                                    VOTING VILLAGE
 Direct-Recording Electronic Voting Machines
 A direct-recording electronic (DRE) voting machine allows voters to electronically cast their
 ballots by manually touching their choice of candidate on a screen, monitor, or other similar
 device. The DRE records and tallies the votes directly into its computer memory, without a paper
 ballot. Only some DRE models feature a Voter-Verified Paper Audit Trail (VVPAT).


 Dominion: Premier/Diebold AccuVote TSx
 The AccuVote TSx is a DRE voting machine manufactured by Premier Voting Solutions, later
 acquired by Dominion Voting Systems. The product line currently belongs to ES&S.


 As of 2018, the AccuVote TSx was in use in 18 states.*


 Dominion: AVC Edge
 The AVC Edge is an electronic voting machine manufactured by Sequoia Voting Systems, later
 acquired by Dominion Voting Systems. It is a touch-screen machine with direct-recording
 electronic capabilities. It is activated by a smart card, and records votes on internal flash memory.
 Each unit contains a slot for a vote activation card. After the voter’s ballot is cast, the smart card is
 deactivated to prevent multiple votes from being cast. Votes are subsequently documented. When
 polls close, the votes recorded in each machine are either physically or electronically transmitted
 to election headquarters.


 As of 2018, the AVC Edge was in use in 10 states.**


 ES&S: iVotronic DRE
 The iVotronic DRE is an electronic voting system that allows voters to make their choices on a
 touch screen interface and records and tabulates votes in internal memory.


 As of 2018, the iVotronic DRE was in use in 16 states.***




* “Polling Place Equipment - November 2018.” The Verifier. Verified Voting. Accessed September 26, 2019.
https://www.verifiedvoting.org/verifier/#year/2018/.
** According to survey of publicly available information conducted by DEF CON Voting Village.
*** “Polling Place Equipment.” The Verifier. Verified Voting. Accessed September 26, 2019. https://www.verifiedvoting.org/verifier/.

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Electronic Poll Books
An electronic poll book, also commonly called an e-poll book, is typically either a dedicated
device with embedded software or a standard commercial laptop/tablet with a software
application that allows election officials to review, maintain, and/or enter voter register
information for an election, functions that had traditionally been handled using a paper-based
system. These systems are limited to the check-in process and do not participate in counting the
votes. The usual functions of an e-poll book include voter lookup, verification, identification,
precinct assignment, ballot assignment, voter history update and other registry maintaining
functions such as name change, address change and/or redirecting voters to correct voting
location. In the states that allow same-day registration, e-poll books are also used to enter new
voter information and interact with statewide voter registration systems.


ES&S: Diebold ExpressPoll-5000
The Diebold ExpressPoll-5000 is an e-poll book, designed for use by individual poll workers. It is
used in precincts to check voters in before they are permitted to vote. The product line currently
belongs to ES&S, but the ones used at DEF CON were models running Diebold/Premier-branded
software, which is also still in use in several places in the U.S. Its operating system is a version of
Windows CE, a system built by Microsoft for embedded applications.


ES&S: ExpressPoll Pollbook Tablet with Integrated Pollbook Stand
ExpressPoll Pollbook Tablet is an e-poll book designed for use by individual poll workers and is
used in precincts to check voters in before they are permitted to vote. This product was
introduced to the market in 2015 and consists of a Toshiba Encore 2 standard 10-inch tablet
running Windows 8.1 operating system. It is mounted to an integrated stand which has an internal
USB hub for connected peripheral devices like a printer, smart card reader, ethernet, extra battery
and magnetic stripe reader.


Ballot Marking Devices
Ballot marking devices (BMDs) are machines that allow voters to make choices on a screen and
then print out a paper ballot with the voter’s choices, which is the ballot of record. The paper
ballot is then hand counted or tabulated using an optical scanner (see description below). In
general, BMDs should neither store nor tabulate votes, but only allow the voter to record votes on
ballots that are then stored and tabulated elsewhere. Some BMDs produce paper print-outs of
barcodes or QR codes instead of a voter-verifiable paper ballot, which has become a source of
much controversy.


The first ballot marking devices emerged in the late 19th century, but were only widely used in the
last few decades. Today, electronic BMDs have come into widespread use as assistive devices in
the context of optical scan voting systems to provide compliance with HAVA, though in recent
years vendors have proposed that the devices be used by all voters.




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ES&S AutoMARK
The AutoMARK is an optical scan ballot marker that is designed for use by voters who are unable to
personally mark an optical scan ballot. The AutoMARK works in conjunction with an optical
scanner. It was developed by Vogue Election Systems and the product line was purchased by ES&S.
The machine features several features to enhance accessibility for voters with physical impairments
or language barriers.


As of 2018, the AutoMARK was in use in 28 states.^


Optical Scanners
Optical scanners are digital scanning devices that tabulate paper ballots that have been marked by
the voter. Ballots are either scanned at the precinct (in a precinct count system) or at a central
location (in a central count system).


Diebold AccuVote OS
The AccuVote OS is an optical scan voting system. It can be used by precinct count systems and
central count systems. Voters cast their ballots by inserting them into the AccuVote OS system,
where votes are digitally tabulated, recorded, and stored. Originally marketed as the Unisys ES-
2000, the machine later became known as the Global Election Systems AccuVote-OS Precinct
Count (AVOS-PC) paper ballot scanner. In recent years, the machine has also been marketed and/or
supported under the brands Diebold, Premier, ES&S, and Dominion.


As of 2018, the AccuVote OS was in use in 26 states.^


ES&S: M650
The M650 is an electronic ballot scanner and tabulator manufactured by ES&S. The ES&S M650 is
used for counting both regular and absentee ballots. It launches ballots through an optical scanner
to tally them, and keeps count on an internal 128 MB SanDisk Flash Storage card (pictured below).
Election staff are responsible for configuring the M650 for each election.


As of 2018, the M650 was in use in 23 states.^


Hybrid Systems


Dominion: ImageCast Precinct
The Dominion ImageCast Precinct is an optical scanner paper integrated with DRE ballot marking
device. It scans human-marked ballots, allows voters with disabilities and other voters requiring
assistance to use the ballot-marking device to mark and review their ballots, and stores ballots for
tabulation after the election period.


As of 2018, the ImageCast Precinct was in use in 10 states.^^

^ “Polling Place Equipment.” The Verifier. Verified Voting. Accessed September 26, 2019. https://www.verifiedvoting.org/verifier/.
^^ According to survey of publicly available information conducted by DEF CON Voting Village.                                 Page 10
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                         OVERVIEW OF
                     TECHNICAL ISSUES
                  FOUND OR REPLICATED
                      BY PARTICIPANTS
ES&S: ExpressPoll Tablet Electronic Pollbook




                  Picture: ES&S Electronic Pollbook System on an integrated stand with built-in
                       printer, smart card reader, and other integrated peripheral devices.


The ES&S ExpressPoll Tablet Electronic Pollbook is an e-poll book which uses a standard
commercial unencrypted Toshiba tablet held in place to a dock by a rubber locking mechanism.
The specific model of the tablet was a Toshiba Encore 2 with Intel Atom CPU and running
Windows 8.1 32-bit operating system.


The tablet can be popped out of its dock, exposing an SD port and a USB port of the tablet itself.
Additionally, a USB hub is built into the mounting stand, which exposes additional USB ports. All
these ports are active. The ports outside the mount are accessible to voters and poll workers
without any physical locks or mechanical support for tamper-evident seals.

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                        Picture: Internal electronics of the e-poll book stand. Internal USB hub visible is
                      also directly connected to externally exposed USB connector. The researchers in the
                       Village were able to print out with the voter permission slip directly by connecting
                                                        into external USB.
 While the SD card, which contains voter data, is encrypted, all keys are stored in plain text in a
 standard xml file allowing all data to be easily accessed and modified, thereby rendering encryption
 meaningless.


 A card or USB device may be placed into the machine directly even when the dock is locked; the
 locking mechanism does not prevent access to the externally exposed ports on either on the tablet
 or on the stand.

                                        None of the BIOS passwords were set. This allows unrestricted access
                                        to all system settings. By default, the device booted from a USB first
                                        without any password required.


                                        The supervisor maintenance password is stored in plaintext on this
                                        device. In this case, the password for the tablet was “ESS”.


                                        Security features supported by the underlying commercial hardware
                                        were turned off or not activated. The tablet supported Secureboot, a
                                        common security feature designed to check to see if the system has
                                        been tampered with and prevent the machine from running code of
                                        unknown origin. This was disabled by default on the tablet, allowing
                                        the e-poll book to load unsigned code from any source.
Picture: Externally exposed USB port on the side of the Electronic Pollbook Stand.
The port does not get locked when the stand is locked and it does not have a lid or
hook on which to place a seal.

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As the Toshiba tablet is a standard off-the-shelf ‘PC compatible’ general-purpose device, it is
supported by a wide range of general-purpose operating systems. This machine can be booted
from a version of Linux using, for example, the external USB port and USB memory stick. Booting
from Linux allows an attacker to access data on the device without encountering any Windows
operating system-based defenses. Voting Village participants confirmed that an attacker would
then be able to freely access data and run custom software, including software that would allow
extraction of voter data. An attacker could also change or delete any voter registration data (like
party registration) stored on the machine once the machine has been accessed.


The e-poll book operating system stack lacked any attempt to perform even the most rudimentary
platform hardening. In fact, none of the bloatware that would come with a standard Toshiba
tablet was removed. Apps for Netflix, Hulu, and Amazont were present in the e-poll book.


The lack of hardening is especially dangerous given that for one of the recommended
deployments the system is intended to communicate over WiFi with wireless internet access to
either Amazon Web Services or Microsoft Azure-based cloud services. Given that the operating
system is unhardened and given that the standard bloatware provided by the vendor is present on
the machine, there is an extremely wide, unprotectable, exposed attack surface.




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ES&S AutoMARK




                               Picture: ES&S AutoMARK Ballot-Marking Device

The ES&S Automark is a ballot marking device that allows keyboard and ethernet ports to be
plugged in after removing the top of the machine’s case. The casing is closed only by 3 screws and
does not include any tamper-evident seals. Immediate root access to the device was available
simply by hitting the Windows key on the keyboard.


The lock to this device can be picked manually, allowing root and physical access to the
unencrypted drive.


A RJ45 jack appears to be hidden behind a sticker on the front of the machine, accessible by
removing the sticker without any tools.


The ES&S AutoMARK runs Windows CE Embedded Operating System 5.0. The application software
in the machine appears to be last updated around the end of 2007, and the system appears to
have been last used in a special election in late 2018.




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Picture: Election database manifest file from the AutoMARK showing details of the
                       last election for which it was used.




                   Picture: AutoMARK software version screen.




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Operating system implementation has not been hardened or unneeded elements removed to
minimize attacking surface. For example, Internet Explorer is present on this device.


Because the operating system is not hardened, an attacker can, before the machine boots up, drop
malware onto the device after holding the “screen” button for five seconds.


Collectively, a few people were able to change the group IDs of political parties still stored in the
device from the previous election. However, this triggered a warning screen, indicating some form
of integrity-checking for the stored data.


The embedded Windows operating system has special feature "Allow data connections on device
when connected to PC" to enable Windows Mobile Device Center to allow the general purpose
Windows version communicate with embedded windows. This feature was turned on.


The machine used several passwords/pins which were very simple, including passwords listed as
default passwords in online manuals. These codes include “1111” as the pin code to replace the
entire firmware of the device.


Participants were able to adjust the load address which caused the voting applications software to
consistently crash. In this instance, the reason for the machine crashing would not be obvious to
nontechnical people, such as the volunteers helping to run the polls, thereby creating an effective
denial of service attack which would be hard to remotely diagnose.


Additionally, the administrator password was stored in the clear in the configuration file and
participants were able to use it to enter admin mode. This enabled them to look at the binaries
and replace the header on the voting machine with one of their choosing. Nick Bishop was one of
the participants responsible for these discoveries, and has willingly identified himself.




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                  Picture: AutoMARK firmware function enabling automated extraction of the whole
                                                  system image.


Participants managed to place the DEF CON logo in the header portion of the screen and were
able to edit the registry. Using a screwdriver to open up the machine, participants were able to
plug a keyboard into an exposed USB port and operate the voting machine as a standard Windows
CE machine after exiting the specialized voting software.


Participants Minoo Hamilton and William Baggett also discovered the default system maintenance
password by searching on Google, revealing “admin” as the identification name and “vogue” as the
password. This allowed both of them to gain access to the securities section on the machine,
enabling them to make changes and access vital information. From the securities section they
were able to run a remote integrity check that displayed the files and the integrity of each file. Mr.
Baggett discussed potential implications for these risks for issues involving a forensic change of
evidence. Depending on the protocol adopted by an election office, it is possible that if an
attacker modified the access database or central tabulator after hacking their way in, the integrity
of the modified data would not be checked against the centralized system.




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 Dominion Imagecast Precinct




                       Picture: Dominion ImageCast Precinct with Ballot-Marking Device screen turned to
                                           face the scanner (back) side of the machine.

 The Dominion ImageCast Precinct is an integrated hybrid voting equipment. It combines an
 optical paper ballot scanner and ballot marking device and allows for nonvisual accessibility for
 the blind and visually impaired, in compliance with HAVA. This machine provides voters with
 disabilities the same opportunities for access and participation as other voters.


 This device integrates the devices and the ballot box to store the cast ballots into one unit, but
 has a single locking mechanism that holds the entire ballot box together. If picked, ballots could
 easily be stolen using common items such as a standard trash picker.


 Participants were able to access USB, RJ45, and CF slots on this machine without using destructive
 force.


 The system also runs Busybox Linux 1.7.4, which has twenty currently known medium to high level
 vulnerabilities including the ability to allow remote attackers to allow a DNS through
 CPU/bandwidth consumption via a forged NTP packet which triggers a communication loop with
 the effect of Denial-of-Service attacks.*

* Search Results. Common Vulnerabilities and Exposures. Accessed September 26, 2019. https://cve.mitre.org/cgi-bin/cvekey.cgi?
keyword=busybox.
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Boot settings also allow for the system to be booted from an external USB on startup.


Importantly, the CF card and card readers on the front and back of the machine are physically
exposed, and could be replaced.


Additionally there is an internal USB port that is not exposed and an external CF slot that is
covered by a tiny door. Either slot can be used to load the OS. Boot order is USB then CF.


The door opens by unscrewing one of the screws. The screws in question were so-called secure
screws. Participants made a quick run to a nearby electronics store to purchase “Security Bits Set
with Ratchet Driver” for under $28 which was used to open all ‘security screws’ used in any of the
machines.




                   Picture: Small unmarked lid on the side of the machine for accessing CF card slot
                   inside of the machine. So-called “secure screw” tips can be commonly purchased
                                              from any electronic store.

When participants removed the CF card on the front of the machine, they found scanned ballots
and the configuration file in the clear. In the absence of other protections, modifying
configuration data could allow an attacker to edit which X/Y locations on the scanned ballots
matched with which candidate. Participants found no digital signing or encryption protecting
those digital files.


Participants responsible for much of the work on this machine identified themselves willingly:
Zander Work, Lyell Read, Cody Holiday, Andrew Quach, Steven Crane, Henry Meng, and Nakul Bajaj.
As a group, they were able to boot an operating system of their choice and play video games on
the voting machine, including a popular game called “Pong”. These participants averred that by
bringing a simple screwdriver and CF card into the voting area, an attacker could use a
screwdriver to access the machine’s intended CF card and swap it with the card they brought,
allowing the attacker to boot an arbitrary operating system and take control over the machine.


The group was able to browse the file system on the CF card, proving that the filesystem was
unencrypted and unprotected.

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AccuVote-OS Precinct Count




            Picture: Originally marketed as Unisys ES-2000 later become Global Election Systems AccuVote-OS
           Precinct Count (AVOS-PC) paper ballot scanner. Later also marketed/supported under brands Diebold,
                                              Premier, ES&S and Dominion.


Participants also discovered a set of previously undocumented functions in the
Dominion/Diebold/Premier/ES&S AccuVote, enabling remote manipulation of the machine’s
memory card when the machine is connected to a network — without any physical access to the
memory card, and without breaking or circumventing any physical seals. Researchers confirmed
the existence of these features with a person who has previously been involved with the
maintenance of these machines, and an election official who had encountered the feature before.
The investigation of these functions and possible mitigations is ongoing at the time of this report.


The Voting Village acquired two dozen devices from the same jurisdiction. From the circumstantial
evidence of documents in the travel cases, it appears that the machines were put in use and
subsequently retired together. However, the devices did not have the same software version
installed. Despite possibly having been used in the same elections, some of the machines had
software version 1.96.6, whereas others were running 1.96.4, an older version.


In this device, the software is installed on a socketed EPROM microchip. EPROM stands for
Erasable Programmable Read-Only Memory and it is a type of programmable read-only memory
(programmable ROM) that can be erased and reused. This type of chip has to be physically
removed from the circuit board, placed into a separate programmer device, and completely erased
before it can be reprogrammed. Erasing the chip is done by shining an intense ultraviolet light
through a window through which the silicon chip is visible. The erasing window must be kept
covered with an opaque label to prevent accidental partial or unstable erasure by the UV by
sunlight or camera flashes and therefore the window is always covered by a sticker as seen in the
picture.




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                       Picture: AVOS circuit board with socketed EPROM chip containing election
                        software. Software upgrades to this machine are installed by physically
                       replacing the chip; as the chip is socketed, this can be done in a matter of
                    seconds. The chip inside a socket is a SmartWatch CMOS real time clock with an
                           NVRAM controller circuit and an embedded lithium energy source.

This machine was originally developed in 1986 and first introduced to market in 1989, and it is
believed to have been used for the first time in U.S. general elections in Minnesota in 1990. The
CPU of the system is NEC V25, which was the microcontroller version of the NEC V20 processor.
The V20 was a processor made by NEC that was a reverse-engineered, pin-compatible version of
the Intel 8088 with an instruction set compatible with the Intel 80186. It has 16-bit internal
architecture and 8-bit external data bus. The V20 was introduced in 1982 and V25 was officially
phased out in early 2003. The EPROM containing the programming was 128KBytes in size and the
system had two RAM chips 128KBytes each.




       Picture: Human readable strings from the chip contained in the programming. As is typical for embedded
     systems of the era, the programming contains a lot of clear text strings. In this era of technology, compression
                                        and encryption were things of the future.

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EVID




                            Picture: VR System EViD electronic poll book system.


Participants confirmed that the hardware for this machine is a normal general purpose PC
hardware which is very low-end by today’s standards. There was no BIOS password set on the
machine. Consequently, participants were able to boot an arbitrary operating system off a live CD,
which had the ability to run on 32-bit and limited to 128M RAM. Ultimately, the device was used as
an entertainment device, amusing visitors with Nyan Cat.




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ES&S M650




                  Picture: Inside of ES&S M650 Optical Paper Ballot scanner. Storage devices and
                other electronics are quick and easy to replace in a card rack in the upper left. Note
                   the overpowered for the purpose electric motor for moving the paper ballots.


Last year, the Village made accessible to participants two M650 units which had been used in
Oregon. This year, the Voting VIllage acquired an additional unit used in the state of Washington.
Based on documentation, all three devices were from the same year and same hardware revision.
Based on that, the researchers were surprised to discover that the hardware and the features
between the devices were not identical. It is unclear who had carried out the modifications.


The paper maintenance log inside the machine did not answer that question, but showed that
maintenance personnel periodically have physical access to the inside of the machine. With
physical access, this type of machine has no security protections against any kind of modifications.




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                               RECOMMENDATIONS




While the DEF CON Voting Village is heavily focused on the technical aspects of the election
infrastructure, the Unhack the Ballot initiative underlined the importance of all levels of the
human factor aspects in an election ecosystem. Election officials need more training and better
access to parties who can help them to navigate the consequences of technological choices
around them. Bearing in mind that at the moment many of those choices take place in the long
out-sourcing supply chains of the ecosystem and election officials are left into the tail-end of the
process to design mitigation strategies into deployments which they were not participating in
design. Election officials also need help to train their own staff to be more security-minded and to
gain the ‘muscle memory’ instincts to protect day-to-day operations, both during election cycles
and between them.


The security implications of ballot marking devices should be further studied. This calls for multi-
disciplined research looking into the various aspects of the election process from integrity and
security to usability and reliability. Current and proposed next-generation ballot marking devices
have not been designed with security considerations in mind. They open the door for various
methods to attack the election process. In the simplest end are denial-of-service attacks and
attacks to compromise the secrecy of the ballot. Depending on the deployment strategy, the
ballot-marking device will know a lot about the voter and therefore ballot-marking devices can be
hacked specifically to, for example, disenfranchise vulnerable populations: voters who use audio
interface, sip-and-puff, large fonts, non-English language ballots, or who take a long time to vote.
The discussion about ‘detecting’ hacked devices is dangerous, because in the absence of remedies
even if irregularities are reported there is almost no way to properly investigate. Ballot-marking
devices as currently deployed have an insurmountable security design and delegation flaw: the
protocols make voters responsible for checking whether devices are performing correctly, and
voters cannot get any evidence to prove to others that a malfunction occurred and therefore even
if voter detects and reports an error, it would often be the only remaining course of action for poll
workers to assume a mistake on the voter’s part.


The use of barcodes should be carefully analyzed from various security aspects. Malicious
fraudulent advanced barcodes have been causing a lot of problems to Point-of-Sale systems and
utilizing bar codes in elections opens a new avenue for injection and scripting type of attacks. The


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election integrity, auditability and transparency aspects of using barcodes are even more
important. Paper ballots have been promoted because they make those various methods of audits
possible. This is true only if the significant record of the vote is human readable. At this point in
time, we have to recognize that there are two aspects: technological soundness and the public
trust. In elections, it is important that the losing parties and their supporters accept the results as
fair. Any method of voting which is not completely transparent and understandable by everyone
can be contested in the court of public opinion.


Hybrid machines, which offer users the option of inspecting their ballot before printing, should be
avoided because they increase the risk of undetectable attacks. Because the machine knows which
ballots are inspected and which are not, it can modify only those that are not inspected —
essentially undermining the purpose of voter-verifiable ballots. Such attacks would be very hard to
detect exactly because the attacked ballots are those not inspected. With today’s razor-thin
margins of victory in elections, even the ability to modify a small percentage of the votes
undetectably can have a huge impact.


Inspection of newer models of e-poll books further underlines the absence of security design both
in software, hardware and physical security aspects. E-poll books are inherently networked devices
to synchronize across all devices at a polling place and to avoid cabling, which is often done
wirelessly. Furthermore, many new makes and models of the e-poll books actively communicate in
real-time over the Internet to back-end servers hosted in commodity cloud services. So far, the e-
poll books studied in the Voting Village have been utilizing general-purpose operating systems on
commercial off-the-shelf hardware with no special hardening or security measures.


Historically, security measures provided by the hardware / low-level programming have been
systematically turned off in all classes of devices used as part of the election infrastructure.
Unfortunately, this was found to be true also with newer generations of voting equipment in the
Village. These practices greatly simplify paths to attack the machines and also place increased to
unbearable burdens to physical security and chain-of-custody management of the machines over
the entire lifetime of the devices.


Election reporting was increasingly an area of concern in the Village discussions. With the election
night beginning of the process happening over the internet as well as the end of the process as
reporting happening over the Internet, discussions in the Village were drawn into similar
information flow designs in other industries and how irregularities in those setting had managed
to go unnoticed when the ends of the process are seemingly matching. There needs to be a
process in place to verify that the reporting truly is sum-of-its-parts.




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                    DARPA SECURE
             HARDWARE TECHNOLOGY
                   DEMONSTRATOR

For the past four years, DARPA has been working to build next-generation secure hardware
through its System Security Integrated Through Hardware and Firmware (SSITH) program. This new
hardware was unveiled for the first time to the public in the Voting Village.


The SSITH program develops methodologies and designs tools that enable the use of hardware
advances to protect systems against software exploitation of hardware vulnerabilities. To evaluate
progress on the program, DARPA has incorporated the secure processors researchers are
developing into a very early prototype application of a secure voting ballot box. At the Voting
Village this year, they turned the system loose for public review by thousands of hackers and DEF
CON community members. The purpose of this application is solely to provide a demonstration
system that facilitates open challenges. To be clear, the SSITH program will not produce a voting
system, nor will it provide a specific solution to election system security issues for use during
elections.


During DEF CON 2019, the SSITH system demonstrator consisted of a set of RISC-V processors that
the research teams will modify to include their SSITH security features. Since SSITH’s research is
still in the early stages, only one prototype version of the 15 processors in development was
available for evaluation. DEFCON 27 was the first small step on a path to evaluate the hardware
design. In 2020, DARPA plans to return to DEF CON with an entire demonstrator system, which will
incorporate fixes to the issues discovered during this year’s evaluation efforts.




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                                                         CONCLUSION




As in previous years, this year’s Voting Village demonstrated vulnerabilities inherent in the
election environment and highlighted the enormity of the task of securing our nation’s elections.
Among the many issues highlighted at the Voting Village this year, particularly on machines
previously unavailable to the hacker community, three serious vulnerabilities stood out:


1. Widespread use of current ballot-marking device architectures poses new systemic security
   risks
2. Previously studied commercial election equipment continues to surprise with new weaknesses
3. Many systems are shipped with basic security features disabled


If we as a nation are serious, as we must be, about improving election security in the United
States, particularly ahead of the 2020 presidential election, the Voting Village recommends that
the following as urgent priorities:


  I.     Nationwide deployment of mandatory post-election risk-limiting audits
  II.    Nationwide deployment of voter-marked paper ballot systems
  III.   Dramatically increased funding and other resources to help local election officials protect
   their IT infrastructure from foreign state actors and other threats.


Without taking these steps to support election administrators at the frontlines of this clear
national security threat, we fear that the 2020 presidential elections will realize the worst fears
only hinted at during the 2016 elections: insecure, attacked, and ultimately distrusted.




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                             ACKNOWLEDGMENTS


A number of individuals contributed to the success of the DEF CON Voting VIllage and the
production of this report. A special thanks to:


  The organizers, subject matter experts, and partners who collaborated to make the Voting
  Village concept a reality and helped to author this report;
  The speakers and moderators of the Voting Village speaker track, including Senator Wyden,
  Representative Eric Swalwell, representatives of the U.S. Department of Homeland Security, the
  Defense Advanced Research Projects Agency (DARPA), and many others;
  The state and local election administrators who attended the Voting Village to share their
  wealth of experience and learn from the hacker community about the latest election system
  security concerns;
  The outstanding support and contributions of Jake Braun, Phil Stupak, Morgan Ryan, Jaclyn
  Houser, Analiese Wagner, Casey Dolen, Claire Martin, and Caroline Hymel;
  The indispensable legal advice and guidance provided by Kendra Albert, Sunoo Park, and
  Thomas Hopkins of the Cyberlaw Clinic at the Berkman Klein Center for Internet & Society,
  Harvard Law School; and
  Verified Voting and the Michael and Paula Rantz Foundation, for their generous support of this
  work.




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                                              APPENDIX A:
                                           VOTING VILLAGE
                                           SPEAKER TRACK

This year’s Voting Village speaker track spanned all three days of the conference and
featured members of Congress, representatives from the Department of Homeland
Security and the Department of Defense, private sector pioneers, academics, researchers,
and hackers of all stripes. Below is an overview of each day’s talks, as well as each
speaker’s biographical information.

Friday, August 9, 2019

Welcome and Voting Village Kick-off Remarks


  Harri Hursti, Co-Founder, DEF CON Voting Village; Founding Partner, Nordic Innovation
  Labs
  Harri Hursti is among the world’s leading authority in data and election voting security, critical
  infrastructure, and network security systems. Beginning his career as one of the minds behind
  the first commercial, public email and online forum system in Scandinavia, he went on to
  cofound EUnet-Finland. Hursti has authored many studies on election security and vulnerability
  in both academic and corporate publications. He worked for Black Box Voting where he
  performed voting machine hacking tests, which became known as the Hursti Hacks. These tests
  were filmed and later turned into the acclaimed HBO documentary Hacking Democracy.


  Matt Blaze, Co-Founder, DEF CON Voting Village; Professor of Law and McDevitt Chair for
  the Department of Computer Science, Georgetown University
  Matt Blaze holds the McDevitt Chair of Computer Science and Law at Georgetown University. His
  research focuses on the architecture and design of secure systems based on cryptographic
  techniques, analysis of secure systems against practical attack models, and on the intersection of
  computing and communication technology and public policy. In addition to his position at
  Georgetown University, he sits on the board of directors of the Tor Project. Blaze received his PhD
  in Computer Science from Princeton University.


  Jake Braun, Co-Founder, DEF CON Voting Village; Executive Director, University of Chicago
  Harris Cyber Policy Initiative
  Jake Braun serves as the Executive Director for the University of Chicago Harris School of Public
  Policy’s Cyber Policy Initiative where he works at the center of politics, technology and national

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  security to advance the field of cyber policy. Prior to joining CPI, Braun was appointed White
  House Liaison to the Department of Homeland Security (DHS) by President Obama where he was
  instrumental in the passage of the unprecedented Passenger Name Record (PNR) Agreement,
  one of the largest big data agreements in history. In addition, he worked on the development
  and implementation of the Homeland Security Advisory Council’s Task Force on CyberSkills.
  Braun is also a fellow at the Council on CyberSecurity and is a strategic advisor to DHS and the
  Pentagon on cybersecurity.


Remarks by CISA Director Chris Krebs


  Christopher   Krebs,   Director,   Department     of   Homeland    Security’s   Cybersecurity   and
  Infrastructure Security Agency
  Christopher Krebs serves as the first director of the Department of Homeland Security’s
  Cybersecurity and Infrastructure Security Agency (CISA). Mr. Krebs joined DHS in March 2017, first
  serving as Senior Counselor to the Secretary, where he advised DHS leadership on a range of
  cybersecurity, critical infrastructure, and national resilience issues. Prior to coming to DHS, he
  was a member of Microsoft’s U.S. Government Affairs team as the Director for Cybersecurity
  Policy, where he led Microsoft’s U.S. policy work on cybersecurity and technology issues.


DARPA SSITH Program at DEF CON


  Linton Salmon, Program Manager, Defense Advanced Research Projects Agency (DARPA)
  Dr. Linton Salmon joined the Defense Advanced Research Projects Agency as a program manager
  in September 2014. Prior to joining DARPA, Dr. Salmon spent 15 years in executive roles directing
  development of CMOS technology at GlobalFoundries, Texas Instruments and Advanced Micro
  Devices. Before joining Advanced Micro Devices, Dr. Salmon was vice president for Research and
  Technology Transfer at Case Western Reserve University and an associate professor of electrical
  engineering and physics at Brigham Young University (BYU), where his research areas included
  CMOS processes, micro-battery research, packaging and MEMS.


What Role Can Journalists Play in Securing Elections?


  Maggie MacAlpine (moderator), Co-Founder, Nordic Innovation Labs
  Margaret MacAlpine is an election auditing specialist and system testing technologist. She has
  worked on a variety of projects that include electronic testing of voting registration systems,
  election security and election fraud for a variety of countries, states and counties. Ms. MacAlpine
  has served as an advisor for the office of the Secretary of State of California for the Risk Limiting
  Audit Pilot Program 2011-2012, and is widely regarded as an expert on the use of high-speed
  scanners for conducting post-election audits.


  Kevin Collier, Reporter, CNN
  Kevin Collier is a reporter who covers the intersection of cybersecurity and national security,
  including efforts to safeguard election integrity. He has previously worked for BuzzFeed News,
  Vocativ, and the Daily Dot.

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  Kim Zetter, Longtime cybersecurity/national security reporter for various publications
  including WIRED, Politico and The New York Times Magazine and author of the book
  Countdown to Zero Day: Stuxnet and the Launch of the World's First Digital Weapon
  Kim Zetter is a longtime cybersecurity and national security reporter for various publications
  including Wired, Politico and the New York Times Magazine and author of the book Countdown
  to Zero Day: Stuxnet and the Launch of the World's First Digital Weapon. She has broken
  numerous national stories over the years about NSA surveillance, digital warfare, Wikileaks and
  the hacker underground, and has been one of the nation's leading journalists covering voting
  machine and election security since 2003.


  Eric Geller, Cybersecurity Reporter, Politico
  Eric Geller is a journalist on Politico’s cybersecurity team. His primary beat consists of cyber
  policymaking at the White House, the Justice Department, the State Department, and the
  Commerce Department, but he also regularly covers election security, data breaches, malware
  outbreaks, and other cyber issues affecting the government, the private sector, and society at
  large.


While the Bots Distracted You: Hacking the Electorate
Omelas and White Ops provide the most comprehensive ever look at the day to day tactics of
Russian disinformation campaigns against elections. Using Omelas’ subject matter expertise and AI,
we show the extent of Russian propaganda shared on Reddit in the lead up to an election, the
performance of different narratives and different domains, and the sentiment expressed in articles
compared to the sentiment induced in the audience in comments. White Ops’s state-of- the-art bot
detection demonstrates how Russia has automated the process of spreading these narratives, the
added reach attributable to bots, and the techniques employed by bots.


  Evanna Hu, CEO and Partner, Omelas
  Evanna Hu is CEO and Partner of Omelas and non-resident Senior Fellow at the Atlantic Council.
  Omelas is a cutting edge technology company that exposes imminent risks among digital data.
  By utilizing machine learning/ artificial intelligence and data analytics, Omelas focuses on
  physical threats and identifies online campaigns of adversarial state and non-state actors.
  Evanna is also an expert in Counter-terrorism and Countering Violent Extremism, with fieldwork
  in Syria, Iraq, Afghanistan, Gaza, and Sweden, working on Neo-Nazi and Islamist violent
  extremists.


  Ben Dubow, CTO and President, Omelas
  Ben Dubow is the CTO and President of Omelas. Ben began his career tracking the online
  propaganda of jihadists, Shiite extremists, white supremacists, and the militia movement before
  joining Google where he aided YouTube in detecting ISIS content, helped to develop Project
  SHIELD, and provided subject matter expertise for the Redirect Method. In 2017, Ben co-founded
  Omelas with the mission to stop the weaponization of the internet by providing precise data and
  analysis on how state actors and foreign terrorist organizations manipulate the web to achieve
  their geopolitical goals.


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Trustworthy Elections: Evidence and Dispute Resolution
Suitably designed and operated paper-based voting systems can be strongly software independent,
contestable, and defensible, and they can make risk-limiting audits and evidence-based elections
possible. (These terms will be defined.) Not all paper-based voting systems have these properties.
Systems that rely on ballot-marking devices and voter verifiable paper audit trails produced by
electronic voting machines generally do not, because they cannot provide appropriate evidence for
dispute resolution, which has received scant attention. An ideal system allows voters, auditors, and
election officials to provide public evidence of any problems they observe--and can provide
convincing public evidence that the reported electoral outcomes are correct despite any problems
that might have occurred, if they are correct.


  Philip Stark, Professor of Statistics and Associate Dean of Mathematical and Physical
  Sciences, University of California, Berkeley
  Philip B. Stark is Professor of Statistics and Associate Dean of Mathematical and Physical
  Sciences at the University of California, Berkeley. He works on inference and uncertainty
  quantification in many applications including the census, elections, information retrieval, and
  Internet filters. He also studies foundational questions in the philosophy of science and statistics.
  He developed "risk limiting audits" as a method to check election results, which are now in law in
  six states and required by pending federal legislation. Stark currently serves on the Board of
  Advisors of the U.S. Election Assistance Commission. He has testified as an expert witness in a
  range of civil and criminal cases on issues including antitrust, elections, employment, equal
  protection, food safety, intellectual property, product liability, and vaccines.


Keynote Remarks: Senator Ron Wyden (D-OR)


  Senator Ron Wyden
  Senator Ron Wyden is the foremost defender of Americans’ civil liberties in the U.S. Senate, and a
  tireless advocate for smart tech policies. Years before Edward Snowden blew the whistle on the
  dragnet surveillance of Americans, Wyden warned that the Patriot Act was being used in ways
  that would leave Americans shocked and angry, and his questioning of NSA Director James
  Clapper   in   2013   served   as   a   turning   point   in   the   secret   surveillance   of   Americans’
  communications.
  Since then, Wyden has fought to protect Americans’ privacy and security against unwanted
  intrusion from the government, criminals and foreign hackers alike. He has opposed the
  government’s efforts to undermine strong encryption, proposed legislation to hold companies
  accountable for protecting their users’ data, and authored legislation with Rand Paul to protect
  Americans’ Fourth Amendment rights at the border.
  Wyden is a senior member of the Senate Select Committee on Intelligence and the top Democrat
  on the Senate Finance Committee. He lives in Portland, Oregon.


If the Voting Machines are Insecure, Let’s Just Vote on Our Phones!
Despite the consensus that Russian actors targeted multiple points of U.S. election infrastructure,
there are persistent calls for voting over internet-connected devices. This is not new: 31 states and


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the District of Columbia allow military and overseas voters to send voted materials to their home
counties via the internet, including by fax and email. Now, several jurisdictions are piloting another
internet system that allows voters to send their votes via a mobile application which stores those
votes in a blockchain. Such programs undermine the efforts made since 2016 to secure the election
administration offices from attacks. Our military and overseas voters need to successfully cast their
ballots on time – but we owe it to them to find ways that do not increase the security risk.
This talk will take a look at the current landscape of election security leading into 2020, examining
the implications that technologies like blockchain could have on our elections and what the role of
responsible technology looks like on our voting infrastructure.


  Marian Schneider, President, Verified Voting
  Marian Schneider is the president of Verified Voting, a role to which she brings a strong
  grounding in the legal and constitutional elements governing voting rights and elections, as well
  as experience in election administration at the state level. Immediately before becoming
  President of Verified Voting, Marian served as Special Advisor to Pennsylvania Governor Tom Wolf
  on Election Policy. Previously, Governor Wolf appointed her as the Deputy Secretary for Elections
  and Administration in the Pennsylvania Department of State where she served from February
  2015 until May 2017.
  Throughout her legal career, Marian has focused on the intersection of civil rights and election
  law. Formerly, she was a Senior Attorney with Advancement Project’s Voter Protection program
  and was trial counsel in Applewhite v. Commonwealth, successfully challenging Pennsylvania’s
  restrictive photo ID law on behalf of voters as an unconstitutional infringement on the
  fundamental right to vote.
  Marian received her J.D. from The George Washington University, where she was a member of the
  Law Review, and earned her B.A. degree cum laude from the University of Pennsylvania.


State and Local Preparations on Election Security in the Aftermath of the Mueller Report


  Eric Geller (moderator), Cybersecurity Reporter, Politico
  Eric Geller is a journalist on Politico’s cybersecurity team. His primary beat consists of cyber
  policymaking at the White House, the Justice Department, the State Department, and the
  Commerce Department, but he also regularly covers election security, data breaches, malware
  outbreaks, and other cyber issues affecting the government, the private sector, and society at
  large.


  Alex Padilla, Secretary of State of California
  Alex Padilla was sworn in as California’s Secretary of State on January 5, 2015. He is committed to
  modernizing the office, increasing voter registration and participation, and strengthening voting
  rights.
  Padilla previously served in the California State Senate from 2006 to 2014 where he chaired the
  Committee on Energy, Utilities, and Communications. As chair, he shepherded legislation to
  combat climate change and create a greener and more sustainable economy. In 1999, at the age
  of 26, Padilla was elected to the Los Angeles City Council to represent the same east San


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Fernando Valley community where he grew up. In 2001, his colleagues elected him to the first of
three terms as Council President, becoming the youngest member and the first Latino to serve in
this capacity.


Noah Praetz, Election Consultant; former Director of Elections, Cook County, Illinois
Noah is an election consultant and the former Director of Elections for Cook County, Illinois. In
this capacity he was responsible for the overall management of elections in one of the largest
election jurisdictions in the country.
Noah is an adjunct professor at DePaul University College of Law teaching Election Law and sits
on the advisory board of the University of Chicago Harris Cyber Policy Initiative. Noah has
presented extensively on Election Security, Sustainability, Election Day Management, Voter
Registration Modernization and other Election Related items. He has also published articles on
cyber security, election day administration and referendum law in Illinois.


Barb Byrum, Ingham County Clerk, Ingham County, Michigan
Barb Byrum is currently in her second term as Ingham County Clerk, serving as the county’s chief
elections official. As Clerk of one of the most populous counties in the State of Michigan, Byrum
has successfully conducted 21 elections, 4 union elections, and the 2016 Presidential Recount.
Byrum currently serves on Michigan’s Election Security Commission, the Secretary of State’s team
of advisors tasked with strengthening and better securing elections in the state.
Byrum has been a consistent advocate for the voting rights of qualified registered voters, with a
focus on voting rights of military and overseas voters. Byrum serves on the Overseas Voting
Initiative, which is a joint effort by the Federal Voting Assistance Program and Council of State
Governments.
Byrum   graduated     from   Michigan    State   University   with   a   Bachelor   of   Science   degree   in
agribusiness management. She also holds a law degree from the MSU College of Law. Byrum
previously served three terms as a Michigan State Representative. During her time in the
Legislature, Byrum served as the ranking Democrat on the House Committee on Redistricting and
Elections.


Amber McReynolds, Executive Director, National Vote at Home Institute
Amber McReynolds is the Executive Director for the National Vote At Home Institute and is the
former Director of Elections for the City and County of Denver, Colorado. As one of the country’s
leading experts on election administration and policy, she has proven that designing pro-voter
policies, voter-centric processes, and implementing technical innovations will improve the voting
process for all voters. During her time in Denver, the Elections office was transformed into a
national and international award-winning election office. Amber was also recognized as a 2018
Top Public Official of the Year by Governing Magazine for her transformational work to improve
the voting experience in Denver and across Colorado. She is now focused on improving the voting
experience across the country.




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2020: Ready? Or Not?


  Sherri Ramsay, Senior Advisor, CyberPoint International; Senior Advisor: Cyber & NSA,
  Cambridge Global Advisors; former Director of the National Security Agency/Central
  Security Service Threat Operations Center (NTOC)
  Sherri Ramsay is a consultant, engaged in cybersecurity strategy development and planning,
  cyber assessments, leadership, partnership development, and marketing & development of
  cybersecurity tools and security operations centers.
  Ms. Ramsay is the former Director of the National Security Agency’s (NSA) Threat Operations
  Center. She led discovery and characterization of threats to national security systems, provided
  situational awareness for those threats, and coordinated actionable information to counter those
  threats with the Department of Defense, Department of Homeland Security, and Federal Bureau
  of Investigation. She also served as a senior leader in NSA’s Signals Intelligence Directorate,
  Technology Directorate, and Information Assurance Directorate.
  Ms. Ramsay holds a Bachelor of Science degree from the University of Georgia, a Master of
  Science Degree from Johns Hopkins University, and Master’s Degree from the Industrial College
  of the Armed Forces, National Defense University. She is on the Board of Advisors for Virginia
  Tech’s Hume Research Center, the University of Chicago Cyber Policy Initiative, and TruSTAR
  Technology.


Beyond the Voting Machine: Other High Value Targets in Today’s Election System
Since the U.S. Presidential election in 2016, there has been a heightened interest in election
hacking. While electronic voting machines have been the primary focus, there are other high value
targets could topple our election system if they were manipulated or compromised.
Brian will share his years of research into election systems to give you an insider’s view of these
high value targets and how and why they could be used by an adversary. In addition to a technical
analysis of the components of an electronic voting machine, he will discuss the potential
weaknesses of other key pieces of today’s election system that many have overlooked.


  Brian Varner, Special Projects Researcher, Symantec Cyber Security Services
  Since 2010 Brian Varner has been a special projects researcher on Symantec’s Cyber Security
  Services team, leading the company's CyberWar Games and emerging technologies development.
  He previously worked at the National Security Agency as a tactical analyst.
  Brian holds a bachelor’s degree in Computer Science from Florida Southern and master’s degree
  in Information Assurance from Norwich University. Since early 2016, Brian has researched
  electronic voting machines and campaign security issues and is often called on by peers and
  media for his unique perspective on the potential threats facing today’s election systems.


Putting Voters First: Expanding Options to Vote


  Amber McReynolds, Executive Director, National Vote at Home Institute
  Amber McReynolds is the Executive Director for the National Vote At Home Institute and is the
  former Director of Elections for the City and County of Denver, Colorado. As one of the country’s


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  leading experts on election administration and policy, she has proven that designing pro-voter
  policies, voter-centric processes, and implementing technical innovations will improve the voting
  process for all voters. During her time in Denver, the Elections office was transformed into a
  national and international award-winning election office. Amber was also recognized as a 2018
  Top Public Official of the Year by Governing Magazine for her transformational work to improve
  the voting experience in Denver and across Colorado. She is now focused on improving the voting
  experience across the country.


Thirty Years Behind the Ballot Box: A firsthand look at the multiple factors preventing fair,
effective and secure elections in America


  Ion Sancho, former Supervisor of Elections, Leon County, Florida
  Ion Sancho served 28 years as Supervisor of Elections of Leon County, Florida. Elected in
  November of 1988, Sancho was sensitized to problems in elections when 5,000 voters were
  disenfranchised in a 1986 state and local primary election due to the misprogramming of the
  voting machines. Sancho was candidate in that election, and since then has dedicated his
  professional    career    to   properly   administering   elections   in   Leon   County,   working    for   fair,
  accessible and verifiable elections nationwide.
  Concerned by voting machine security, Supervisor Sancho sanctioned a number of red team
  attacks on his voting system in the spring and summer of 2005, captured in HBO’s 2007 Emmy-
  nominated documentary “Hacking Democracy”, showing how the system could be hacked to alter
  the outcome of any election without being detected unless the paper ballots themselves were
  audited.
  Ion Sancho retired after the 2016 presidential election. He has remained active in the elections
  field, appearing as an expert witness in election cases and working with public and private
  entities heightening awareness to the threat of foreign intrusion to the American voting process,
  particularly the critical need for audits.


UnclearBallot: Automated Ballot Image Manipulation
As paper ballots and post-election audits gain increased adoption in the United States, election
technology vendors are offering products that allow jurisdictions to review ballot images---digital
scans   produced    by     optical-scan     voting   machines---in   their   post-election    audit   procedures.
Jurisdictions including the state of Maryland rely on such image audits as an alternative to
inspecting the physical paper ballots.We show that image audits can be reliably defeated by an
attacker who can run malicious code on the voting machines or election management system.
Using computer vision techniques, we develop an algorithm that automatically and seamlessly
manipulates ballot images, moving voters' marks so that they appear to be votes for the attacker's
preferred candidate. Our implementation is compatible with many widely used ballot styles, and
we show that it is effective using a large corpus of ballot images from a real election. We also show
that the attack can be delivered in the form of a malicious Windows scanner driver, which we test
with a scanner that has been certified for use in vote tabulation by the U.S. Election Assistance
Commission. These results demonstrate that post-election audits must inspect physical ballots, not
merely ballot images, if they are to strongly defend against computer-based attacks on widely used
voting systems.

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  Kart Kandula, Graduate Student, University of Michigan
  Kart Kandula received his B.S.E. degree in computer science engineering from the University of
  Michigan in 2019 and is currently pursuing an M.S.E in the same area. He conducts research in
  the UM-Security lab under the supervision of Professor J. Alex Halderman. Currently, his research
  interest lies in problems affecting society and public policy, specifically election security. He has
  held internships at Microsoft and J.P. Morgan in the past.


  Jeremy Wink, Undergraduate Student, University of Michigan
  Jeremy Wink is an undergraduate student at the University of Michigan currently pursuing a BSE
  in Computer Science. He has taken multiple security courses and has spent time researching
  topics surrounding election cybersecurity under J. Alex Halderman.


Saturday, August 10, 2019

Organizational Cybernetics: A Key to Resilience for the Digital Village


  Kimberly Young-McLear, Assistant Professor, U.S. Coast Guard Academy
  Lieutenant Commander Kimberly Young-McLear is currently an Assistant Professor at the U.S.
  Coast Guard Academy. She holds engineering and technical degrees from Florida A & M, Purdue,
  and The George Washington University, including a Ph.D in Systems Engineering. She has taught
  a   breadth   of   courses   including   Operations   and   Project   Management,   Crisis   Mapping   &
  Cybernetics, and Cybersecurity Risk Management. She has been instrumental in enhancing the
  inclusion of cybersecurity training and education program at the Academy for cadets and faculty.
  Lieutenant Commander Young-McLear was a key thought leader for the development of the
  Coast Guard Academy’s first cyber undergraduate major. Furthermore as Vice Chair, she leads a
  multidisciplinary faculty Cyber Council to advance cyber curriculum and research at the
  Academy. Her research niche is focused on protecting critical infrastructure from cyber threats in
  the Maritime Domain. LCDR Young-McLear is also the program developer for NET21, a middle
  school outreach program, designed to systematically close STEM gaps amongst underrepresented
  students and teachers of color in the field of cybersecurity.


Ideas Whose Time Has Come: CVD, SBOM, and SOTA
From their origins in general purpose computing, Coordinated Vulnerability Disclosure (CVD),
Software Bill of Materials (SBoM), and Secure Over-The-Air (SOTA) updates have been implemented
or considered in safety sectors including industrial control systems, medical device manufacturing,
and ground transportation. These common software security practices are becoming widespread
global norms, turning up in public policy, international standards, and national law (often in sector-
specific safety regulation). This talk will briefly review the practices (what), provide examples of
successful implementations and supporting information (how), and (why).


  Katie   Trimble,     Section    Chief,    Vulnerability     Management     and   Coordination,     U.S.
  Cybersecurity and Infrastructure Security Agency, Department of Homeland Security
  Katie Trimble currently serves as the Section Chief of the Vulnerability Management and



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  Coordination section of the Cyber Threat & Risk Analysis (CTRA) branch of the Department of
  Homeland Security’s National Cybersecurity and Communications Integration Center (NCCIC). In
  that capacity, she leads the Department’s primary operations arm for coordination of the
  responsible disclosure and mitigation of identified cyber vulnerabilities in control systems and
  enterprise hardware and software used in the 16 critical infrastructure sectors and all levels of
  U.S. government organizations. Ms. Trimble started her career as an intelligence analyst with the
  United States Air Force, specializing in counterinsurgency, antiterrorism & force protection,
  counter explosive devices and communications systems. Ms. Trimble holds a Bachelors of Arts in
  International Relations & Global Studies from Antioch University Seattle.


  Art Manion, Vulnerability Analysis Technical Manager, CERT Coordination Center, Software
  Engineering Institute, Carnegie Mellon University
  Art Manion is the Vulnerability Analysis Technical Manager at the CERT Coordination Center, part
  of the Software Engineering Institute at Carnegie Mellon University. He has studied software
  security and coordinated responsible disclosure efforts since joining CERT in 2001. Having
  gaining mild notoriety for saying "Don't use Internet Explorer" and "Replace CPU hardware" in
  public, Manion now focuses on policy, advocacy, and rational tinkering approaches to software
  security, including standards development in ISO, OASIS, and FIRST. Prior to joining CERT,
  Manion was the Director of Network Infrastructure at Juniata College.


Incident Lifecycle and Incident Response Management Planning
In the past few years, the volume, types, and quality of cybersecurity - related attacks in elections
have become more damaging and disruptive, and new types of security-related incidents have
emerged.     This   white   paper   describes     the   best-known   method    for    analyzing     the   stages   of
cybersecurity incidents and identifies actions that can be taken to avoid or minimize impacts at
each incident lifecycle stage. We discuss the overarching workflow for elections security incident
response and management and describe the Point and Line analysis approach, which considers
factors such as attack vectors, motives, probability, and imp act to develop a set of Incident
Response Templates in this paper. In addition, we include reusable templates for analyzing
cybersecurity Incident Lifecycle and Incident Response Management, which can be customized for
specific needs of any election jurisdiction in this paper.


  Rahul K. Patel, Elections Information Security Officer, Office of the Cook County Clerk and
  Chicago Board of Elections Commissioners
  Rahul Patel is a seasoned Cyber & Information Security professional with over 25 years of
  experience defending the availability, confidentiality, and integrity of information assets. He is
  presently leading elections information security and risk management efforts at the office of the
  Cook County Clerk and Chicago Board of Elections Commissioners as an Elections Information
  Security   Officer.   Patel   holds   a   PhD   from   Northcentral   University,   an   M.B.A.    from   DePaul
  University, and an M.S. from Illinois Institute of Technology


  Tonya Rice, Director of Elections, Cook County, Illinois
  Tonya Rice was appointed Director of Elections by Cook County Clerk Karen A. Yarbrough in 2019,


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  in which capacity she supports operations for one of the largest election jurisdictions in the
  country. Rice began her career in elections in 2005 as a political science graduate student at the
  University of Michigan, where she was a National Science Foundation Graduate Research Fellow,
  specializing in public opinion on voting technology and post-election audits, as well as the
  political participation of language minority citizens. Rice holds a J.D. from Northwestern
  University School of Law and B.A. from Northwestern University.


Assessing Election Infrastructure


  Jason Hill, Chief, National Cybersecurity Assessments and Technical Services (NCATS)
  Jason Hill is the Chief of the National Cybersecurity Assessment and Technical Services (NCATS)
  Branch of the Cybersecurity and Infrastructure Security Agency (CISA). In this capacity Jason has
  primary responsibility to deliver quality security testing and analysis to customers that include
  the Federal government, State, Local, Tribal and Territorial governments, as well as Private
  Sector/Critical Infrastructure stakeholders. Mr. Hill has worked with several tech companies
  creating and teaching red team course work and conducting penetration testing in the
  commercial industry and DOD. Jason also spent 22 years as a US Army National Guardsmen for
  the Commonwealth of Virginia. As Master Sergeant of the 91st Cyber Brigade he led the Cyber
  Opposition     Forces    which   provides   red   team   &   pen   testing   capabilities.   He   has    achieved
  certifications for the Offensive Security Certified Professional and the Certified Ethical Hacker
  trainings.


  Genevieve Marquardt, IT Specialist, National Cybersecurity Assessments and Technical
  Services (NCATS)
  Genevieve Marquardt serves as a member of the National Cybersecurity Assessments and
  Technical Services (NCATS) Cyber Hygiene team which is responsible for continuously assessing
  the "health" of external stakeholders' endpoints reachable via the internet and maintaining an
  updated enterprise view of the cyber security posture of their systems to drive proactive
  mitigation of vulnerabilities and reduce risk. Genevieve provides technical support pertaining to
  public IP scans and testing of .gov public facing networks for stakeholders.


  Derrick      Thornton,    Federal   Lead,   National     Cybersecurity       Assessments      and       Technical
  Services (NCATS)
  Derrick Thornton joined the National Cybersecurity Assessments and Technical Services (NCATS)
  team in June 2017 as an Information Security Specialist. Derrick serves as a Federal Lead leading
  NCATS RVA teams conducting two week penetration tests. An 11-year veteran of the U.S. Air
  Force, Derrick was stationed at Robins Air Force Base, Georgia and at White Sands Missile Range,
  New Mexico while also serving 2 tours in the Middle East. The 4 years of military service at White
  Sands Missile Range was an assignment to the National Reconnaissance Office, which led to a 21-
  year career within the NRO. Derrick has a Bachelor of Science in Technical Management from
  DeVry University.




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Securing America: How DHS, States, and Cybersecurity Startups are Working Together Before the
2020 Presidential Election
In 2016, 50 states' election systems were targeted by Russian nation-state hackers. Russian actors
visited election websites, tested vulnerabilities by trying to exploit SQL database vulnerabilities,
and even managed to access voter registration files and a county ballot. DHS deemed US election
infrastructure “critical” and now CISA, DHS’ critical infrastructure office, is actively providing
scanning technology and technical assistance to states. States, which have direct authority over the
issue, are doing a great job with their own efforts including working with the National Guard,
looking public-private partnerships to provide DDoS mitigation and in some cases trying bug
bounties and working with ethical hackers to keep elections secure. However, there is still much to
be done to secure our democratic/election systems before 2020 - we need YOU. Election security
will require a united effort with the scale and vigilance of a crowd of top talent. How are states
innovating before the 2020 Presidential Election? How can hackers help?


  Joseph Marks (moderator), Reporter, The Washington Post
  Joe Marks is a reporter for The Washington Post, where he writes The Cybersecurity 202
  newsletter focused on the policy and politics of cybersecurity. Before joining The Washington
  Post, Marks covered cybersecurity for Politico and Nextgov. He also covered patent and copyright
  trends for Bloomberg BNA and federal litigation for Law360. Marks began his career at
  Midwestern newspapers covering city and county governments, crime, fires and features. He
  spent two years at the Grand Forks Herald in North Dakota and is originally from Iowa City.


  Rita Gass, CIO, California Secretary of State’s Office
  Rita established her career and progressed throughout the roles to become a chief information
  officer in 2008 with CCC. Remaining in this role for eight years, she eventually moved to the
  same role with California Secretary of State (SOS), where she continues to work now.


  Wayne Thorley, Deputy Secretary for Elections, Nevada Secretary of State’s Office
  Wayne Thorley is the Deputy Secretary of State for Elections for the Nevada Secretary of State’s
  office and is responsible for administering the Nevada’s election process including enforcing
  state and federal election laws and procedures and the Help America Vote Act.


  Trevor Timmons, CIO, Colorado Secretary of State’s Office
  Trevor Timmons has served the Colorado Secretary of State as Chief Information Officer since
  2007, after eight years as Deputy CIO and Director of Software Development. Mr. Timmons has
  served under several Secretaries of State, during which time Colorado has gained a national
  reputation in several areas, including elections administration and cybersecurity operations.


  Alex Joves, Regional Director, Region V, Cybersecurity and Infrastructure Security Agency
  Alex Joves is the Regional Director for Region V of the Department of Homeland Security’s
  Cybersecurity and Infrastructure Security Agency. He has served in various roles for DHS since
  2007, including Regional Supervisor of Chemical Facility Anti-Terrorism Standards and Director
  of the National Infrastructure Coordinating Center. Prior to joining DHS, Mr. Joves was an


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  Associate Attorney at Perkins Coie LLP. He has a JD from The George Washington University Law
  School and a Bachelor of Science in Government from the U.S. Coast Guard Academy.


  Josh Benaloh, Senior Cryptographer, Microsoft Research
  Josh Benaloh is a Senior Cryptographer at Microsoft Research and has worked on verifiable
  election technologies for more than thirty years. His 1987 doctoral dissertation at Yale University,
  entitled “Verifiable Secret-Ballot Elections”, introduced the use of homomorphic encryption as a
  means to enable public verifiability in elections.
  Dr. Benaloh served seventeen years on the Board of Directors of the International Association for
  Cryptologic Research and currently serves on the Coordinating Committee of the Election
  Verification Network. He has published and spoken extensively and testified before Congress on
  election technologies and was an author of the 2018 National Academies of Science, Engineering,
  and Medicine report “Securing the Vote – Protecting American Democracy”.


  Alissa Starzak, Head of Policy, Cloudflare
  Alissa Starzak is the Head of Public Policy at Cloudflare, an Internet performance and security
  company that is on a mission to help build a better Internet.


  Jay Kaplan, Co-Founder and CEO, Synack
  Jay co-founded Synack after serving in several security-related capacities at the Department of
  Defense, including the DoD’s Incident Response and Red Team.


Bootstrapping Vulnerability Disclosure for Election Systems
Seven months. It look seven months to make contact with a major city after discovering a critical
vulnerability in their election registration website, which could have exposed (or worse, modified)
information of millions of voters. As seen in the Mueller report, election systems are under active
attack by foreign adversaries. Yet while vulnerability disclosure policies are becoming the norm in
most industries, exactly zero states or election vendors have established vulnerability disclosure
policies to allow reporting vulnerabilities in election systems. In a time where accepting feedback
from the public is the best defense against these attacks, the lack of vulnerability disclosure
policies hinders improvements in securing systems. In a talk by security researcher Jack Cable and
Katie Trimble from the Department of Homeland Security’s Cybersecurity and Infrastructure
Security Agency, learn industry best practices for vulnerability disclosure and how election systems
can   benefit   from   additional   public   scrutiny.   Hear   Jack’s   experiences   disclosing    critical
vulnerabilities in several major election registration systems, and how this can be channeled to
protect our nation ahead of the 2020 elections.


  Jack Cable, Security Researcher and Student, Stanford University
  Jack Cable is a coder turned white hat hacker and a rising sophomore at Stanford University.
  Jack is a top ranked hacker on the HackerOne bug bounty platform, having identified over 350
  vulnerabilities in companies including Google, Facebook, Uber, Yahoo, and the U.S. Department
  of Defense. After placing first in the Hack the Air Force challenge, Jack began working this past
  summer at the Pentagon’s Defense Digital Service. At Stanford, Jack studies computer science
  and launched Stanford’s bug bounty program, one of the first in higher education.

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  Katie   Trimble,    Section    Chief,   Vulnerability   Management     and   Coordination,       U.S.
  Cybersecurity and Infrastructure Security Agency, Department of Homeland Security
  Katie Trimble currently serves as the Section Chief of the Vulnerability Management and
  Coordination section of the Cyber Threat & Risk Analysis (CTRA) branch of the Department of
  Homeland Security’s National Cybersecurity and Communications Integration Center (NCCIC). In
  that capacity, she leads the Department’s primary operations arm for coordination of the
  responsible disclosure and mitigation of identified cyber vulnerabilities in control systems and
  enterprise hardware and software used in the 16 critical infrastructure sectors and all levels of
  U.S. government organizations. Ms. Trimble started her career as an intelligence analyst with the
  United States Air Force, specializing in counterinsurgency, antiterrorism & force protection,
  counter explosive devices and communications systems. Ms. Trimble holds a Bachelors of Arts in
  International Relations & Global Studies from Antioch University Seattle.


  Trevor Timmons, CIO, Colorado Secretary of State’s Office
  Trevor Timmons has served the Colorado Secretary of State as Chief Information Officer since
  2007, after eight years as Deputy CIO and Director of Software Development. Mr. Timmons has
  served under several Secretaries of State, during which time Colorado has gained a national
  reputation in several areas, including elections administration and cybersecurity operations.


“The Election System: Can We Fix It?” “YES WE CAN!”
As the previous DEF CON Voting Villages have proved, our voting equipment and infrastructure are
very vulnerable to multiple types of attacks. Instead of focusing on problems and broken things,
this talk will focus on simple fixes that vendors and governments can put into action right now.
Starting with the machines themselves, then moving through parts of the entire system, BiaSciLab
will offer suggestions on how simple practices and changes in thinking and hiring can improve the
security of the entire system.
Last year at r00tz BiaSciLab was one of the first to hack the mock election reporting system set up
by the Voting Village. Some have pointed out that this was a purposely flawed system designed for
the the kids to break. However, as outlined in the Mueller report, Russian hackers used the same
SQL injection technique to break into an election reporting system. If our systems are so secure,
how was this able to happen? Lack of secure coding practices and both peer and outside review. If
proper coding review and application testing had happened, this SQL injection vulnerability would
have been found and fixed.
Breaking down these flaws and offering real solutions for each one, BiaSciLab will bring hope in the
face of this daunting and complex security problem.


  BiaSciLab, Founder and CEO, Girls Who Hack
  BiaSciLab is a 12 year old hacker and maker. She was the youngest speaker at the Hackers on
  Planet Earth conference and has spoken at DEF CON previously in both the Bio Hacking Village
  and the r00tz Asylum kids con. She received national attention when she hacked the voting
  reporting system at DEF CON 26. BiaSciLab is alsothe Founder and CEO of Girls Who Hack, an
  organization focused on teaching girls the skills of hacking so that they can change the future.



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Securing Voting Systems (Beyond Paper Ballots!)
While    much    "headline     hacking"    is   devoted   to    exposing   vulnerabilities   on   voting   machines
themselves, there is more to election systems security than simply popping shells on old,
unsupported kiosks. In this session, attendees will learn what real world IT personnel in the 3071
counties and parishes across the U.S. face on and around Election Day, beyond the voting machine.


  Tod Beardsley, Director of Research, Rapid7
  Tod Beardsley is the Director of Research at Rapid7. He has over 30 years of hands-on security
  experience,     stretching     from    in-band    telephony     switching    to   modern    Internet     of    Things
  implementations. He has held IT Operations and Security positions in large organizations such as
  3Com, Dell, and Westinghouse, as both an offensive and defensive practitioner.


Machine Voting: The Bulgarian Experience
First machine voting experiments in Bulgaria started in 2009. Since then machine voting found its
place in legislation with the usage of offline DRE kiosks with VVPAT. Latest developments in
information security and the rising threads require flexible technical approach with still lagging
legislation. The talk will pass through our machine voting experience, problems and solutions we
came     up   with.    We’ll   share   detailed    security    requirements   for   voting   machines      and    their
implementation in practice. Special emphasis will be put on latest European parliament elections,
held in May 2019 and upcoming municipal elections in October 2019.


  Alex Stanev, CTO, Information Services JSC
  Alex started as a software developer in late 90s working on a wide range of projects – from
  specialized hardware drivers to large scale information systems for private and public sectors,
  including e-government services, elections management and smart cities.
  Since 2003 Alex has been leading computer processing of all election results and referendum
  projects in Bulgaria. As a consultant for the Central Election Commission of Bulgaria Alex is the
  primary author of technical and security requirements for election machines used in Bulgaria. As
  a security consultant, Alex has lead penetration test audits in Europe, America and Africa for
  financial and government institutions.
  Currently Alex serves as CTO in the largest Bulgarian systems integrator - Information Services
  JSC.


Addressing the election security threats posed by Very Small Jurisdictions
While most election administrators in the US are working in jurisdictions with populations in the
tens or hundreds of thousands, there are states with jurisdictions as small as a dozen or so voters.
In these Very Small Jurisdictions, the local interface with the state election system can be as crude
as a Windows XP computer directly connected to an ISP and used by an Election Administrator
with little computer experience or understanding of anti-social engineering practices. These are
administrators with direct user access to statewide election systems containing voter roles and
responsible for posting official election results. And while there are creative approaches to
improving election worker training to offset social engineering threats underway in several states,
they are virtually all designed for the more typical "macro" jurisdiction level (country-level


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jurisdictions) and are not scaleable to these "micro" levels, leaving secretaries of state to run
generalized   safety    trainings    with     little    follow-up    and   few     options    for   addressing    these
vulnerabilities. The talk will briefly explore the threat and why creating public logical network
structures are best suited not just to mitigate the problem, but to potentially make these
jurisdictions even more secure than their larger counterparts.


  John Odum, CMC, CEH, CNDA, MCP, CIW; City Clerk, Montpelier, Vermont
  John Odum has been the elected City Clerk of Vermont’s Capital, Montpelier, for 7 years. In this
  capacity he also serves as the the Election Administrator for Montpelier. Prior to being elected
  clerk, John worked in communications and IT for non-profits and political campaigns. His work
  has been published on websites of The Guardian, Governing, Huffington Post, as well as
  numerous Vermont area publications.


The Devil Went Down to Georgia. Did He Steal Souls? (Georgia’s Electronic Voting Saga)


  Marilyn Marks, Executive Director, Coalition for Good Governance
  In 2009, after a narrow loss to become the Mayor of Aspen, Marilyn Marks recognized the
  vulnerabilities in Colorado’s election systems and chose to devote herself full time to election
  integrity litigation and lobbying efforts for more transparent and verifiable elections. She
  successfully litigated the effort to make Colorado ballots open public records for postelection
  reviews, followed by more than 25 election-related cases involving election transparency or voter
  privacy. She is currently the driving force behind the legal challenge to Georgia’s unverifiable
  electronic voting system.


  Rich DeMillo, Professor of Computer Science and Executive Director, Center for 21st
  Century Universities, Georgia Tech
  Richard DeMillo is the Charlotte B. and Roger C. Warren Chair of Computer Science and Professor
  of Management at Georgia Tech, where he founded and now directs the Center for 21st Century
  Universities. The Center is Georgia Tech’s living laboratory for fundamental change in higher
  education. He is responsible for educational innovation at Georgia Tech and is a national leader
  and spokesman in the online revolution in higher education. Under his leadership, Georgia Tech
  has developed a pipeline of 50 Massive Open Online Courses that together enroll a million
  learners.


  Logan Lamb, Cybersecurity researcher
  Logan Lamb is a Senior Security Engineer at Bird. Previously he has served as a Cyber Security
  Researcher at Bastille Networks and Oak Ridge National Laboratory. He has Master of Science
  and   Bachelor   of   Science     degrees     in     Computer     Engineering,    both     from   the   University   of
  Tennessee, Knoxville.


  Jordan Wilkie, Freelance journalist covering election integrity
  Jordan Wilkie is pursuing a career as an investigative journalist covering criminal and social
  justice by combining data-driven reporting with long-form, narrative storytelling. My expertise to-
  date is in incarcerated juvenile and LGBTQ populations.

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  Robert McGuire, Attorney for Coalition plaintiffs
  Robert McGuire is the attorney for the National Election Defense Coalition plaintiffs in their
  current    legal   challenge   to   Georgia’s   unverifiable   electronic   voting   system.   His   previous
  experience includes serving as a Senior Associate at Allen & Overy LLP, as a lecturer at the
  University of Denver’s Sturm College of Law, and as a law clerk for the U.S. Court of Appeals for
  the Eighth Circuit. He earned his JD from Yale Law School.


  Susan Greenhalgh (moderator), Vice President of Policy and Programs, National Election
  Defense Coalition
  Susan Greenhalgh is Vice President for Programs at National Election Defense Coalition. Susan
  performs extensive research, assembling and reviewing documents that may influence and
  impact state and federal policy regarding election verifiability and security. She also works with
  cyber security experts and advisors on the federal level to bridge the gap between national cyber
  security policy and election administration. Susan has a bachelor’s degree from the University of
  Vermont in chemistry.

Sunday, August 11 , 2019

Exploring Voter Roll Manipulation and Fraud Detection with Voter Files
Qualified Voter Files are published by states and contain information on registered voters. These
files are used by political campaigns and analysts to gather data on registered voters. The public
nature of these files also makes it easier for the public to detect voter fraud and can be used by
third parties to help detect large scale voter registration attacks. The data contained in these files,
however, could be used by attackers to impersonate voters and update or delete a voter’s
registration information and subsequently prevent the targeted voters from exercising their right to
vote. Use of Qualified Voter Files could also inform attackers on what scale voters’ information
could be changed without raising suspicion.


  Nakul Bajaj, High School Researcher, University of Michigan
  Nakul Bajaj is a rising high school senior at The Harker School. He is interested in computer
  science and public policy, and frequently participates in hackathons and debate competitions to
  learning more about each of these fields. Previously, he has done analysis on election datasets,
  finding patterns between race and income and voter turnout. In addition, he has worked on
  projects dealing with a combination of law and computer science, having built an expert system
  that helps inventors file their own patents. This summer, he is helping conduct research in
  Professor J. Alex Halderman’s lab at the University of Michigan regarding electronic voting
  machines and other election security topics with help from PhD candidate Matthew Bernhard.


Defending Democracy: Working with Election Officials to Improve Election Security
Four years after documented foreign interference in the 2016 presidential election put election
security in the headlines, cybersecurity experts and election officials still face challenges in
working together. The need for collaboration is clear - especially in smaller and less well-resourced
jurisdictions - so how can we bridge the gap? Hear from current and former election officials and
election security advocates about how successful partnerships have moved the needle, and what to
do if you want to engage your local election office.

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  Liz Howard, Counsel, Democracy Program, Brennan Center for Justice
  Liz Howard currently serves as Counsel for the Brennan Center’s Democracy Program, with a
  focus on cybersecurity and elections. Prior to joining the Brennan Center, Ms. Howard was Deputy
  Commissioner for the Virginia Department of Elections. During her tenure overseeing election
  modernization projects in Virginia, she coordinated the state’s decertification of all paperless
  voting systems, implementation of the e-Motor Voter program, and adoption of online, paperless
  absentee ballot applications. Ms. Howard earned her J.D. from the William & Mary School of Law
  in 2009.


  Justin Burns, Chief Information Security Officer, Washington Secretary of State
  Justin Burns joined the elections security community in January, as CISO for the Washington
  Secretary of State. Prior to this, he served as a Solutions Architect and Technical Assistant to the
  Washington State CIO.


  Trevor Timmons, Chief Information Officer, Colorado Secretary of State
  Trevor Timmons became Chief Information Officer for the Colorado Secretary of State in 2007,
  after eight years as Deputy CIO and Director of Software Development. During this time, Mr.
  Timmons served under several Secretaries of State and Colorado gained a national reputation in
  several areas, including elections administration and cybersecurity operations.


  Jared Dearing, Executive Director, Kentucky State Board of Elections
  Jared Dearing is the Executive Director of the Kentucky State Board of Elections and has worked
  in the elections space for over ten years. Jared has public and private sector experience working
  both at the local and state level, including working for the City of Louisville as well as the Office
  of California Governor Jerry Brown. His private sector work includes several tech startups located
  in the Bay Area and Boston. He is a graduate of the University of California, Berkeley where he
  studied public policy and engineering.


  Monica Childers (moderator), Product Manager for Risk-Limiting Audits, VotingWorks
  Monica Childers is a civic technologist with a background in digital product design and project
  management. As Product Manager at the VotingWorks she champions collaborative design,
  partnering with state and local election officials to build low cost, flexible tools for election
  administration. Over the past decade she has designed online voter engagement platforms, vote-
  by-mail ballot tracking systems, text & email election reminders, and a national trouble-ticket
  system for reporting problems with election mail. Having served as the project manager for
  Colorado's post-election audit software for the past year, she is currently working with election
  officials implementing risk-limiting audits (RLAs) and is helping shepherd the development of
  nationwide RLA software.


Securing Your Election Infrastructure: Plan and Prepare to Defend Your Election Systems,
People, and Processes
Robert Anderson will provide some background of Election Security and the threat research that is
on-going for Election Security. An overview for election teams to plan and prepare to defend their


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Election Systems, People, and Processes.     Provide guidance to update your Security Policies and
Incident Response Plan.      Help election teams understand their Attack Surface and where your
election systems are most vulnerable.      Review the primary Threat Actors poised to attack your
election systems. Then review several approaches that could be deployed to protect Election
Security Assets, and direct to some organizations that could support election teams.


  Robert Anderson, Chief Cyber Security Practitioner and President, Preying Mantis
  Robert Anderson is a highly trained IT & Cyber Security professional with over 25 years of
  experience in a variety of cybersecurity domains. As a former Intelligence Officer working in the
  Middle East, he brings a unique perspective to security operations and incident response. Robert
  has deployed and led over 500 security programs and projects to Fortune 500 companies,
  federal, state, and local governments, and NATO. Robert has over 15 years hacking experience
  and is a Certified Ethical Hacker. He is an expert in Cyber Threat Intelligence and Information
  Warfare and has led Incident Response Teams during many high-profile breaches.


Keynote Remarks: Representative Eric Swalwell (CA-15)


  Representative Eric Swalwell (CA-15)
  In 2012 Eric Swalwell was elected to represent California’s Fifteenth Congressional District, which
  includes a large part of the East Bay. Now in his fourth term, he’s working hard to bring new
  energy, ideas, and a problem-solving spirit to Congress, with a focus on advancing policies that
  support equality, opportunity, and security.
  Congressman Swalwell serves on the House Permanent Select Committee on Intelligence, and
  believes protecting Americans is Congress’ most solemn duty. He chairs the Intelligence
  Modernization     and   Readiness   Subcommittee,    which    oversees   overall   management    of   the
  Intelligence Community: the policies and programs focused on making sure that all 17 U.S.
  intelligence agencies have the workforce, infrastructure and services they need to succeed. This
  involves fostering greater collaboration and better use of resources across the entire Intelligence
  Community    in   personnel   management,      security   clearance   reform,   information   technology
  modernization, and other areas.




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